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                                                                                                         Apr 25 2005


                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO: 04-60602-CIV-MARRA/SELTZER

            RICHARD LANE and
            FAITH LANE,

                   Plaintiffs,

            v.

            CAPITAL ACQUISITIONS AND
            MANAGEMENT COMPANY
            et al.,

                  Defendants.
            ________________________________/

                                DEFENDANTS OTHON, WOLDOFF, WAUGH, AND
                             XYZ VENTURE PARTNERS, LLC.’S MOTION TO DISMISS
                                 AND INCORPORATED MEMORANDUM OF LAW

                   Defendants, XYZ VENTURE PARTNERS, LLC (“XYZ”), ERIC

            WOLDOFF(“Woldoff”), GEORGE OTHON (“Othon”) and REESE WAUGH (“Waugh”), by

            and through their undersigned counsel, and pursuant to Federal Rules of Civil Procedure 8,

            12(b)(2) and (6)1, hereby move this Court for an Order to Dismiss the Complaint filed by

            Plaintiffs RICHARD LANE and FAITH LANE (“Plaintiffs”), and as grounds therefore allege

            the following:

                   1.        Plaintiffs commenced this action against their former employer, Capital

            Acquisitions and Management Company (“CAMCO”), alleging claims for violations of the Fair



                   1
                    Defendants Waugh and Othon move to dismiss for lack of personal jurisdiction pursuant
            to Rule 12(b)(2), and move in the alternative to dismiss pursuant to Rule 12(b)(6) and Rule 8.




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            Labor Standards Act, 29 U.S.C. Section 201 et seq. (“FLSA”), and 42 U.S.C. Section 1981

            (“Section 1981"). The Plaintiffs recently amended their Complaint to name Othon, Waugh, and

            Woldoff, CAMCO’s corporate officers, as well as its alleged parent corporation XYZ as

            additional defendants. The gravamen of the Complaint is that the “Defendant” violated the FLSA

            by failing to pay overtime compensation, and violated Section 1981 by racially discriminating

            against the Plaintiffs. The Complaint is fraught with pleading deficiencies and is subject to

            dismissal for a variety of reasons.

                   2.      First, Plaintiffs brought this action in Florida against two Illinois residents, but

            they fail to allege a sufficient basis to assert jurisdiction under Florida’s long-arm statute. As

            more fully set forth in the Affidavits of Waugh and Othon, attached hereto as Exhibits “A” and

            “B” respectively, at all times material to the allegations in the Plaintiffs’ Complaint and

            continuing through the present day, the Defendants Waugh and Othon have been residents of the

            State of Illinois, and have no individual contact with the State of Florida.

                   3.      Plaintiffs basis for creating personal jurisdiction is premised entirely upon the

            notion that since Waugh and Othon are owners and officers of CAMCO, they fall within the

            ambit of the long-arm statute.        However, it is well established that non-resident corporate

            officers and shareholders are not subject to personal jurisdiction when, as here, the only basis for

            jurisdiction relates to actions taken purely in their corporate, as opposed to individual, capacity.

            Moreover, it is irrefutable that neither Waugh nor Othon has sufficient minimum contacts with

            the State of Florida to satisfy constitutional due process standards. Plaintiffs’ claims against

            Waugh and Othon should therefore be dismissed with prejudice.

                   4.      Second, the Plaintiffs fail to state a claim individually against Waugh, Woldoff,




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            and Othon under Section 1981 because they fail to set forth any allegations of personal conduct

            on the part of these Defendants which would link them to the allegedly discriminatory action.

            There are no allegations that they were personally involved in any way with the transfer of the

            Plaintiffs to the Florida office, their status as Level 1 collectors, their pay rates for partial shifts,

            or with the termination of the Plaintiffs’ employment. Plaintiffs cannot simply group the

            Defendants together, and then label their collective conduct as discriminatory. Since Section

            1981 requires intentional conduct, if there are no specific allegations of personal involvement

            by each Defendant, the claim should be dismissed.

                    5.     Third, it is well established that a corporate parent is insulated from liability for

            the acts of its subsidiary unless the two entities acted as an “integrated enterprise” or one is

            the alter ego of the other. Neither theory is alleged in this case. Instead, the Plaintiffs rely

            upon a single conclusory statement that XYZ is the corporate parent of CAMCO. The mere fact

            that a parent-subsidiary relationship exists is insufficient to establish liability. Plaintiffs are

            required to plead the basis of their claim against the corporate parent in order that XYZ can

            adequately respond to such claims. Failure to do so necessitates a dismissal.

                    6.      Finally, the inherent pleading flaws are magnified by the fact that Plaintiffs lump

            all of the Defendants together in clear violation of Fed.R.Civ.Proc. 8. There is no distinction

            made between the individual defendants versus the parent versus the subsidiary. Instead, the

            entire Complaint is based upon the alleged conduct of the global “Defendant” which consists of

            five separate defendants, one of which is a corporate parent, two of which are non-residents, and

            three of which are being sued personally for corporate acts.         The importance of adhering to the




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            fair notice pleading requirements is critical where, as here, multiple parties are named.

            Accordingly, the Complaint should be dismissed for failure to comply with Rule 8.

                   WHEREFORE, Defendants XYZ VENTURE PARTNERS, LLC., ERIC WOLDOFF,

            GEORGE OTHON, and REESE WAUGH respectfully request that the Complaint be dismissed,

            and grant other and such further relief as may be just under the circumstances.

                                          MEMORANDUM OF LAW

                   A. Standard of Review


                   In ruling on a motion to dismiss, the court should not dismiss a complaint unless it

            appears beyond doubt that the plaintiff can prove no set of facts that would entitle him to relief.

            Conley v. Gibson, 355 U.S. 41, 56-46, 2 L. Ed. 2d 80, 78 S. Ct. 99 (1957). In considering a

            motion to dismiss, the court must take all material allegations of the complaint as true and

            liberally construe those allegations in favor of the plaintiff. Scheuer v. Rhodes, 416 U.S. 232,

            236, 40 L. Ed. 2d 90, 94 S. Ct. 1683 (1974).

                    However, a plaintiff may not merely "label" claims to survive a motion to dismiss.

            Blumel v. Mylander, 919 F. Supp. 423, 425 (M.D. Fla. 1996). At a minimum, the complaint must

            provide a "short and plain statement of the claim" that "will give the defendant fair notice of

            what the plaintiff's claim is and the grounds upon which it rests." Conley, 355 U.S. at 47 (quoting

            Fed. R. Civ. P. 8(a)(2)). When, on the basis of a dispositive issue of law, no construction of the

            factual allegation will support the cause of action, the Complaint should be dismissed. Ray v.

            Lowder, 2003 U.S. Dist.Lexis 2092 (M.D. Fla. 2003); and Olmsted v. Don Defosset et al., 205

            F.Supp.2d 1316 (M.D. Fla. 2002).




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                                    B. There is No Personal Jurisdiction As to Defendants
                                        Waugh and Othon Who are Illinois Residents

                    In order to determine whether personal jurisdiction exists over an out-of-state defendant,

            a court must conduct a two-pronged analysis. First, the court must assess where there is

            jurisdiction under the state’s long-arm statute. In this regard, Florida’s long-arm statute states,

            in pertinent part:

                            48.193 Acts subjecting person to jurisdiction of courts of state
                                   (1) Any person, whether or not a citizen or resident
                                   of this state, who personally or through an agent
                                   does any of the acts enumerated in this subsection
                                   thereby submits himself or herself and, if he or she
                                   is a natural person, his or her personal
                                   representative to the jurisdiction of the courts of this
                                   state for any cause of action arising from the doing
                                   of any of the following acts:
                                    (a) Operating, conducting, engaging in, or carrying
                                   on a business or business venture in this state or
                                   having an office or agency in this state.
                                    (b) Committing a tortious act within this state.
                                    ...
                                   (2) A defendant who is engaged in substantial and
                                   not isolated activity within this state, whether such
                                   activity is wholly interstate, intrastate, or otherwise,
                                   is subject to the jurisdiction of the courts of this
                                   state, whether or not the claim arises from that
                                   activity.

                    Second, the court must decide whether the defendant has established sufficient minimum

            contacts with the state, such that the exercise of jurisdiction will satisfy due process and comport

            with traditional notions of fair play and justice. Alternate Energy Corp. v. David Redstone, 328

            F.Supp.2d 1379 (S.D. Fla. 2004). The focus of the “minimum contacts” test is whether the

            defendant purposefully availed himself of the privilege of conducting activities within the forum

            state, thus invoking the benefits and protection of its laws. See Burger King Corp. v. Rudzewicz,




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            471 U.S. 462, 475 (1985). Such a test can usually be satisfied if the defendant conducts

            substantial and not isolated activity in the forum state such that he can reasonably anticipate

            being hailed into court in that state. Id.

                    The plaintiffs must first plead facts that establish the basis of jurisdiction, at which point

            the burden shifts to the defendant to challenge the allegations through affidavits or other

            evidence. Alternate Energy Corp., 328 F.Supp.2d at 379. Here, Plaintiff alleges in conclusory

            fashion that Defendants Waugh and Othon conducted business activities within the State of

            Florida, and that the Plaintiffs’ cause of action arose out of such activities.           Specifically,

            Plaintiffs assert that jurisdiction exists because Othon and Waugh were involved in the operation

            of CAMCO, and Plaintiffs’ suit is based upon their employment with CAMCO. See Complaint

            at paragraph 9. As such, the sole jurisdictional allegations against Waugh and Othon relate to

            their alleged activities as corporate officers.

                    It is well-settled Florida law that personal jurisdiction does not lie against the officers of a

            corporation in the absence of sufficient allegations that such defendants did business or

            committed a tort in Florida as individuals, as opposed to their conduct as officers of the

            corporation. Bloom v. A.H. Pond, Inc., 519 F.Supp. 1162 (S.D. Fla. 1981)(“[I]f the law were

            otherwise, any corporate employee could be forced to defend a suit in the Florida courts,

            regardless of what the individual did with respect to his employer’s business so long as his

            employer engaged in business in this state. Nowhere does the plaintiff allege that the individual

            defendants were engaged in a business venture on their own behalf, as opposed to engaging in

            business on behalf of their corporate employer.”); Doe v. Thompson, 620 So.2d 1004(Fla.

            1993)(Florida Supreme Court adopted ‘corporate shield ‘doctrine which does not permit




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            jurisdiction over a corporate officer where the officer has no contacts with the state in his/her

            individual capacity); Snibbe v. The Napoleonic Society of America, 682 So.2d 568 (2d DCA

            1996)(“Because the non-residents were acting in their corporate capacity, section 48.193 is not

            applicable, and the court did not have personal jurisdiction over them”); McDougal v. Mizrahi,

            636 So. 2d 138 (Fla. 3rd DCA 1994) (holding that “[i]n the absence of sufficient allegations in

            the complaint that the non-resident appellants did business or committed a tort in Florida as

            individuals, as opposed to their conduct as officers of a corporation, there is no basis for

            asserting Florida jurisdiction over them pursuant to any applicable statute.” ); Washington

            Capital Corp. v. Milandco, Ltd., 695 So. 2d 838 (Fla. 4th DCA 1997) (holding that developer

            failed to establish sufficient jurisdictional facts to support assertion of long-arm jurisdiction over

            principal of Pennsylvania finance company where amended complaint contained no allegations

            that principal engaged in solicitation activities in Florida); Bower v. C.J. Timm Investment Co.,

            630 So. 2d 678 (Fla. 2nd DCA 1994) (holding that Texas citizen who was officer of corporation

            sued by Florida investor was not subject to jurisdiction of the court where affidavit did not allege

            that officer took any action other than in his corporate capacity).

                   Waugh and Othon’s status as non-resident owners of CAMCO does not change this

            result. Seabra v. International Specialty Imports, Inc. 869 So.2d 732 (4th DCA 2004)(non-

            resident shareholder of defendant corporation was not subject to personal jurisdiction under long

            arm statute); Aldea Communications, Inc., 725 So.2d 456 (2d DCA 1999)(A non-resident

            shareholder of a corporation doing business in Florida may be subject to jurisdiction only where

            sufficient facts are alleged to pierce the corporate veil.); and Suroor Bin Mohammed Al Nahuan

            v. First Investment Corp., 700 So.2d 139 (5th DCA 1997)(Allegations that non-resident was sole




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            shareholder were insufficient to establish personal jurisdiction since plaintiff was required to

            allege that shareholder engaged in activity, apart from as agent for corporation.).

                   Plaintiffs’ Complaint is devoid of allegations of any individual acts by either Waugh or

            Othon which would subject them personally to long-arm jurisdiction. Further, the Affidavits of

            Defendants Waugh and Othon clearly refute any basis for establishing personal jurisdiction.

            Aside from their roles as corporate officers and shareholders, neither Defendant has any

            individual ties to the State. In fact, neither Waugh nor Othon has ever had involvement with the

            Lanes nor exercised any role with respect to their employment.        As such, there is no basis to

            assert jurisdiction under the long arm-statute, nor are there sufficient “minimum contacts” to

            comport due process.      The Complaint should accordingly be dismissed with prejudice as to

            Waugh and Othon.

             C.    The Complaint Fails to State a Claim for Violation of 42 U.S.C. Section 1981 Against
                            The Individual Defendants Waugh, Othon and Woldoff

                   This Court has held that “in order to impose individual liability upon corporate officers

            For violations of 42 U.S.C. Section 1981, a Plaintiff must not only allege specific instances of

            racial discrimination, but those allegations must demonstrate some affirmative link to causally

            connect the actor with the discriminatory action”. Norma Evans-Gadsen v. Bernstein Litowitz

            Berger & Grossman, 332 F. Supp.2d 592 (S.D.N.Y. 2004); see also, Cason Enterprises, Inc. v.

            Metropolitan Dade County, 20 F.Supp.2d 1331 (S.D. Fla. 1998)(“”Because liability is premised

            upon intentional discrimination, personal involvement of a defendant is essential.”); Jean-

            Claude Franchitti v. Bloombeg, L.P., 2004 U.S. Dist. Lexis 21071 at * 12 (S.D.N.Y. 2004)

            (“Personal liability under section 1981 must be predicated on actor’s personal involvement”);




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            McGee v. Illinois Deparment of Transportation, 2004 U.S. Dist. Lexis 5453 at * 8-9 (N.D. Ill

            2004) (“Without personal participation in the discrimination that is the subject of plaintiffs’

            alleged complaints, there can be no finding of intent to discriminate against plaintiffs under

            Section 1981... and thus no liability.”); and Weaver v. Norman J. Gross, 605 F.Supp. 210( Dist.

            of Columbia 1985)(Complaint dismissed for failure to allege that individual officers personally

            participated in the acts giving rise to alleged Section 1981 claim).

                   Here, the Complaint is completely devoid of any specific allegations against Othon,

            Waugh or Woldoff which suggest that they personally participated in any alleged racial

            discrimination. Because the Complaint groups all defendants together under the term

            “Defendant”, there is no plausible Section 1981 which has been properly alleged. In fact, the

            only persons who are specifically named in the Complaint concerning these allegations are Brian

            Paxton, Lebrad Timmons, and Sam Thompson. See Complaint at paragraphs 19 through 38.

            Plaintiffs fail to assert any factual or legal basis to impose personal liability. There are no facts

            which are alleged as to the individual defendants which even remotely establishes a causal link

            between them and the allegations of discriminatory conduct.            Counts I, II, and III should

            accordingly be dismissed as to Waugh, Othon and Woldoff.

                   D. The Complaint Fails to State a Claim against XYZ as a Parent Corporation

                   Plaintiffs purport to allege claims for violations of Section 1981 and the FLSA against

            XYZ based upon a single allegation that XYZ is “the corporate parent of Defendant CAMCO”.

            See Complaint at ¶ 7.      Other than a global reference to the term “Defendant”, there are no

            specific allegations against XYZ.




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                     Under the “corporate veil” doctrine, a parent corporation is insulated from liability for the

              acts of its subsidiary absent allegations of an “integrated enterprise”, or alter ego theories. Here,

              there are no allegations whatsoever concerning the relationship between XYZ and CAMCO.

              Plaintiffs rely entirely upon a conclusory statement that XYZ is the parent, and is therefore

              liable. Plaintiffs’ reliance is misplaced.

                     In Calderon v. Southwestern Bell Mobile Systems, LLC, 2004 U.S. Dist. LEXIS 25356

              (N.D. Ill. 2004), the District Court dismissed a Section 1981 claim against a corporate parent

              since the Complaint did not allege sufficient facts to establish the parent company’s liability

              under a veil-piercing or alter-ego theory. 2004 U.S. Dist. LEXIS at * 6-7.          In so holding, the

              Court relied upon the “general principle of corporate law deeply ‘ingrained in our economic and

              legal systems’ that a parent corporation is not liable for the acts of its subsidiaries.” Id ; see also,

              McWilliams v. Tomkins Industries, 2004 U.S. Dist. LEXIS 27282 at *8 (D. Kan. 2004)(Section

              1981 claim dismissed since “mere existence of a parent-subsidiary relationship is not enough to

              impose liability on the parent.”).

                     Plaintiffs’ FLSA claim is similarly flawed because a parent corporation is only liable

              under the FLSA for the acts of subsidiaries when the various entities act as an “integrated

              enterprise.” Takacs. v. Hahn Automotive 1999 U.S.Dist. LEXIS 21694 (S.D. Ohio 1999); Szymula

              v. Ash Grove Cement Company 941 F.Supp. 1032(D. Kan. 1996) .                    The term “integrated

              enterprise” has been defined to include (1) interrelation of operations, (2) centralized control

              over labor operations, (3) common management, and (4) common ownership or financial control,

              McKenzie v. Davenport-Harris Funeral Home, 834 F.2d 930 (11th Cir. 1987). The Complaint

              contains no allegations concerning any of these factors.




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                       Indeed, the sole allegation which purports to establish liability against XYZ        is a

              conclusory statement that it is the parent corporation. The allegation that a parent-subsidiary

              relationship exists, without more, is insufficient to withstand a motion to dismiss.

                       E. The Complaint Does Not Comply with Fed. R. Civ. Proc. 8

                       To satisfy the notice pleading standard under Rule 8, the Complaint must set

              forth a short and plain statement of the facts upon which the claim is based that is sufficient to

              give the defendant “fair notice of what plaintiff’s claim is and the grounds upon which it rests.”

              Conley, 335 U.S. at 47; and May v. Shell Oil, 2000 U.S. Dist. Lexis 14818 at * 1-2 (S.D. Fla.

              2000).

                        A complaint fails to satisfy Rule 8 where the complaint lumps all the defendants

              together and fails to distinguish their conduct because such allegations fail to give adequate

              notice to the Defendants. See e.g., Atuahene v. City of Harford, 2001 U.S. App. Lexis 11694 * at

              3-4 (2d Cir. 2001)(“By lumping all the defendants together in each claim and providing no

              factual basis to distinguish their conduct, Atuahene’s complaint failed to satisfy [the] minimum

              standard.”); Appalachian Enterprise, Inc. v. EPayment Solutions et al., 2004 U.S. Dist. Lexis

              24657 * at 19-22 (S.D.N.Y. 2004)(Complaint failed to meet Rule 8 pleading requirements

              because the Plaintiff alleged that the wrongful acts were committed collectively by all

              defendants); and Medina v. Bauer, 2004 U.S. Dist. Lexis 910 * at 17-18 (S.D.N.Y. 2004)(“By

              lumping all the defendants together and failing to distinguish their conduct, plaintiff’s amended

              complaint failed to satisfy the requirements of Rule 8") .

                       Here, Plaintiffs' Complaint makes general allegations against all of the named defendants,

              and sues each of them collectively as “Defendant." As such, the individual Defendants cannot




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              determine from the face of the Complaint which acts or omissions for which Plaintiffs seeks to

              hold each of them liable.     The requirements of Rule 8 are particularly important here since:

              (1) the Plaintiffs seek to pierce the corporate shield, and hold the parent corporation liable; and

              (2) the Complaint attempts to establish personal liability on the corporate officers, two of which

              are non-residents. Based on the foregoing authorities, the Court should dismiss the Complaint

              for failure to comply with Rule 8(a).


                                              CERTIFICATE OF SERVICE

                       WE HEREBY CERTIFY that a true and correct copy of the foregoing was mailed this

              25th day of April 2005 to: Andrew P. Speranzini, Esq., Foley & Lardner, LLP, Phillips Point,

              901 West Tower, 777 South Flagler Drive, West Palm Beach, Florida 33401, and Chris Kleppin,

              Glasser Boreth, Ceasar & Kleppin, 8751 W. Broward Blvd., Suite 105, Plantation, Florida

              33324.
                                                           Respectfully submitted,
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                                                           By: s/Michele L. Stocker
                                                           MICHELE L. STOCKER
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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO: 04-60602-CIV-MARRA/SELTZER

              RICHARD LANE and
              FAITH LANE,

                     Plaintiffs,

              v.

              CAPITAL ACQUISITIONS AND
              MANAGEMENT COMPANY
              et al.,

                     Defendants.
              ________________________________/

                                ORDER ON DEFENDANTS’ OTHON, WOLDOFF, WAUGH,
                               AND XYZ VENTURE PARTNERS, LLC MOTION TO DISMISS

                     THIS CAUSE having come before this Court upon the Defendants’ XYZ VENTURE

              PARTNERS, LLC, ERIC WOLDOFF, GEORGE OTHON, and REESE WAUGH’S Motion to Dismiss,

              and this Court having reviewed the Motion, and being otherwise duly advised, it is hereby ORDERED

              and ADJUDGED that:

              ____________________________________________________________________________________

              ____________________________________________________________________________________

              __________________________________________________________________

              DONE and ORDERED in Chambers, Broward County, Florida this ____day of _______________, 2005



                                                            ___________________________
                                                            HON. KENNETH A. MARRA
                                                            UNITED STATES DISTRICT JUDGE

              Copies Furnished To:
              Michele L. Stocker (954)522-5119
              Chris Kleppin (954)474-7405
              Andrew P. Speranzini (561)655-6925




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